                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                          CEDAR RAPIDS DIVISION



 UNITED STATES OF AMERICA,
               Plaintiff,                                 No. CR06-103-LRR
 vs.                                           REPORT AND RECOMMENDATION
                                                        (PARTIAL)
 DONGYAN HUANG and
                                                  ON MOTION TO SUPPRESS
 ZHANG JIAN LONG,
               Defendants.
                                 ____________________


       This Report and Recommendation addresses that portion of the defendants’ joint
motion to suppress physical evidence (Doc. No. 9) dealing with four search warrants. The
portion of their motion and its supplement (Doc. No. 43) dealing with the defendants’
statements to law enforcement officers will be addressed in a subsequent Report and
Recommendation, following an evidentiary hearing.
       In a Superseding Indictment filed September 8, 2006, the defendants are charged
with trafficking in goods containing counterfeit trademarks, in violation of 18 U.S.C.
§ 2320(a). The defendants have filed a motion to suppress physical evidence seized during
searches of their vehicles and premises pursuant to four search warrants which the
defendants argue were issued without probable cause. (Notably, although the Government
has supplied copies of six search warrants, see Doc. Nos. 31 & 32, only four of the
warrants are at issue. According to the Assistant United States Attorney, the warrants filed
as Doc. Nos. 31-5 and 31-7 were not executed and will be returned as unexecuted.) The
defendants have filed a brief in support of their motion (Doc. No. 39), and the plaintiff
(the “Government”) has resisted the motion (Doc. Nos. 31 & 32).
       The court first will address the warrant issued by Chief Magistrate Judge John A.
Jarvey of this court on July 5, 2006. The court then will address three warrants issued by


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Magistrate Judge Audrey G. Fleissig of the United States District Court for the Eastern
District of Missouri.


Warrant #1
      On July 5, 2006, officers applied for a search warrant to search the following
property:
             Cardboard boxes, a covered display area, a white utility trailer
             bearing Missouri license plate [omitted], tables, product
             displays and a Gray 2004 GMC Yukon bearing Missouri
             license plate [omitted] in the parking lot by a Mobil Gas
             Station located at 100 1st Ave W, Cedar Rapids, IA[.]
Doc. No. 31-2, p. 1.
      The application for search warrant (Doc. No. 31-2) was accompanied by the
Affidavit of ICE Special Agent Christopher S. Cantrell. Agent Cantrell stated he had
observed a vendor in a parking lot near the Mobil Gas Station. He knows from his
training and experience that street vendors often deal in items bearing counterfeit
trademarks. He indicated ICE agents “conducted drive by surveillance and examined the
items for sale,” (id., pp. 2-3, ¶ 5), identifying items that appeared to have counterfeit
trademarks on them including the Playboy Rabbit Head Design, and NASCAR and NFL
logos. Hats examined by the ICE agents bore tags indicating they had been made in
China. ICE agents contacted trademark counsel for Playboy Enterprises and described
cellular telephone holders and packaging the agents had seen at the vendor’s stand. Based
on the agents’ description, Playboy’s counsel indicated “the lack of holograms, trademark
and licensing information were not compliant with the legitimate use of the Playboy Rabbit
Head Design.” (Id., p. 3, ¶ 9)
      Based on this information, Agent Cantrell stated he had “probable cause to believe
that persons selling clothing, cellular telephone holders, handbags and other items in the
parking lot . . . are trafficking in counterfeit goods in violation of Title 18 USC 2320.”
(Id., p. 4, ¶ 10) On July 5, 2006, at 6:14 p.m., Chief Magistrate Judge John A. Jarvey

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of this court found the affidavit established probable cause and issued the warrant. (Doc.
No. 31-3) The warrant was executed the same day, and several hundred items bearing
counterfeit trademarks were seized. (See id., pp. 3-8)
       The defendants argue the warrant was issued without probable cause. (See Doc.
Nos. 9 & 39) Specifically, they argue that in his affidavit in support of the warrant
application, Agent Chris Cantrell “recklessly assumed material facts”; made false
statements reflecting bad faith; made averments of fact that were outside the scope of his
training and experience; failed to include sufficient information regarding his “drive by
surveillance” of the defendants’ sales operation; and, generally, included information that
was based on speculation and incomplete investigation. (Id.)
       The first issue before the court is whether the defendants have made the requisite
showing for a hearing pursuant to Franks v. Delaware, 438 U.S. 154, 98 S. Ct. 2674, 57
L. Ed. 2d 667 (1978). Under Franks, the court is required to hold a hearing “where the
defendant makes a substantial preliminary showing that a false statement knowingly and
intentionally, or with reckless disregard for the truth, was included by the affiant in the
warrant affidavit, and if the allegedly false statement is necessary to the finding of probable
cause[.]” 438 U.S. at 155-56, 98 S. Ct. at 2676 (emphasis added). The substantiality
requirement is not easily met. See United States v. Hiveley, 61 F.3d 1358, 1360 (8th Cir.
1995); United States v. Wajda, 810 F.2d 754, 759 (8th Cir. 1987). When no proof is
offered that an affiant deliberately lied or recklessly disregarded the truth, a Franks hearing
is not required. U.S. v. Moore, 129 F.3d 989, 992 (8th Cir. 1997). “A mere allegation
standing alone, without an offer of proof in the form of a sworn affidavit of a witness or
some other reliable corroboration, is insufficient to make the difficult preliminary
showing.” Id. (citing Franks, 438 U.S. at 171). The defendant also must show “that the
allegedly false statement was necessary to a finding of probable cause or that the alleged
omission would have made it impossible to find probable cause.” United States v.
Mathison, 157 F.3d 541, 548 (8th Cir. 1998).


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       The defendants have failed to make the required “substantial preliminary showing
that a false statement knowingly and intentionally, or with reckless disregard for the truth,
was included by the affiant in the warrant affidavit.” Franks, 438 U.S. at 155-56, 98
S. Ct. at 2676. They have included mere allegations that Agent Cantrell included false
statements in his affidavit, with no evidentiary support for their allegations.
       The next issue is whether Agent Cantrell’s affidavit contained facts sufficient to
support a finding of probable cause. The United States Supreme Court has set the standard
for review of a search warrant application, as follows:
                     [W]e have repeatedly said that after-the-fact scrutiny by
              courts of the sufficiency of an affidavit should not take the
              form of de novo review. A magistrate’s “determination of
              probable cause should be paid great deference by reviewing
              courts.” Spinelli [v. United States,] 309 U.S. [410,] 419, 89
              S. Ct. [1509,] 590[, 21 L. Ed. 2d 637 (1969)]. “A grudging
              or negative attitude by reviewing courts toward warrants,”
              [United States v.] Ventresca, 380 U.S. [102,] 108, 85 S. Ct.
              [741,] 745, [13 L. Ed. 2d 684 (1965)], is inconsistent with the
              Fourth Amendment’s strong preference for searches conducted
              pursuant to a warrant [and] “courts should not invalidate . . .
              warrant[s] by interpreting affidavit[s] in a hypertechnical,
              rather than a commonsense, manner.” Id., [380 U.S.] at 109,
              85 S. Ct. at 746.
                     . . . . Reflecting this preference for the warrant
              process, the traditional standard for review of an issuing
              magistrate’s probable cause determination has been that so
              long as the magistrate had a “substantial basis for . . .
              conclud[ing]” that a search would uncover evidence of
              wrongdoing, the Fourth Amendment requires no more. Jones
              v. United States, 362 U.S. 257, 271, 80 S. Ct. 725, 736, 4
              L. Ed. 2d 697 (1960). See United States v. Harris, 403 U.S.
              573, 577-583, 91 S. Ct. 2075, 2079-2082, 29 L. Ed. 2d 723
              (1971). [FN10]
                     [FN10] We also have said that “Although in a
                     particular case it may not be easy to determine
                     when an affidavit demonstrates the existence of
                     probable cause, the resolution of doubtful or

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                     marginal cases in this area should be largely
                     determined by the preference to be accorded to
                     warrants,” Ventresca, supra, 380 U.S. at 109,
                     85 S. Ct. at 746. This reflects both a desire to
                     encourage use of the warrant process by police
                     officers and a recognition that once a warrant
                     has been obtained, intrusion upon interests
                     protected by the Fourth Amendment is less
                     severe than otherwise may be the case.
Illinois v. Gates, 462 U.S. 213, 236-37 & n.10, 103 S. Ct. 2317 & n.10, 2331, 76 L. Ed.
2d 527 (1983).
       Thus, the scope of this court’s review of the search warrant in this case is limited
to a determination of whether the magistrate had a “substantial basis” to issue the warrant.
In conducting this review, the court is mindful that
              affidavits “are normally drafted by nonlawyers in the midst
              and haste of a criminal investigation. Technical requirements
              of elaborate specificity once exacted under common law have
              no proper place in this area.” Ventresca, supra, 380 U.S. at
              108, 85 S. Ct. at 745. . . . [M]any warrants are – quite
              properly . . . issued on the basis of nontechnical, common-
              sense judgment of laymen applying a standard less demanding
              than those used in more formal legal proceedings.
Gates, 462 U.S. at 235-36, 103 S. Ct. at 2331. As the Supreme Court further explained:
              The task of the issuing magistrate is simply to make a
              practical, common-sense decision whether, given all the
              circumstances set forth in the affidavit before him, including
              the “veracity” and “basis of knowledge” of persons supplying
              hearsay information, there is a fair probability that contraband
              or evidence of a crime will be found in a particular place.
              And the duty of a reviewing court is simply to ensure that the
              magistrate had a “substantial basis for . . . conclud[ing]” that
              probable cause existed. Jones v. United States, 362 U.S.
              [257,] 271, 80 S. Ct. [725,] 736[, 4 L. Ed. 2d 697 (1960)].
              We are convinced that this flexible, easily applied standard
              will better achieve the accommodation of public and private
              interests that the Fourth Amendment requires than does [the
              prior legal standard].

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Gates, 462 U.S. at 238-39, 103 S. Ct. at 2332. See also United States v. Fulgham, 143
F.3d 399, 400-01 (8th Cir. 1998) (“When we review the sufficiency of an affidavit
supporting a search warrant, great deference is accorded the issuing judicial officer. See
United States v. Day, 949 F.2d 973, 977 (8th Cir. 1991).”).
       Applying this deferential standard, the undersigned concludes Magistrate Judge
Jarvey had an ample reasonable basis to conclude a fair probability existed that items
bearing counterfeit trademarks would be found at the defendants’ display area and in their
packaging boxes and vehicles. The court further finds that even if the warrant affidavit
did not contain sufficient facts to support a finding of probable cause, the officers
reasonably and in good faith relied on the warrant. The officers had reasonable grounds
to believe the warrant was issued properly, and they “acted in the objectively reasonable
belief that their conduct did not violate the Fourth Amendment.” United States v. Leon,
468 U.S. 897, 918, 104 S. Ct. 3405, 3418, 92 L. Ed. 2d 677 (1984).


Warrants #2, #3, and #4
       Warrants #2, #3, and #4 all were issued by United States Magistrate Judge Audrey
G. Fleissig of the United States District Court for the Eastern District of Missouri. All
three warrant applications were supported by affidavits of ICE Special Agent Gina
Andrews. Because the defendants’ arguments relating to these warrants are similar, the
court first will describe the three warrants, and then will address the defendants’ arguments
in a single discussion.


       Warrant #2
       On July 10, 2006, ICE agents applied for a warrant to search a residence in St.
Louis, Missouri. (See Doc. No. 32-2-sealed) In an affidavit in support of the warrant
application, ICE Special Agent Gina Andrews recited the facts leading to issuance of
Warrant #1, and indicated that during the execution of Warrant #1, “ICE agents seized

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over 100 cellular telephone holders bearing a counterfeit Playboy Bunny Head Design.”
(Id., p. 4, ¶ 13) Agent Andrews further indicated the defendants were found at the
vending location in Cedar Rapids, Iowa, selling the counterfeit items. During the search,
agents had discovered correspondence addressed to the defendants bearing the St. Louis
residence address; the defendants’ vehicle registration contained the St. Louis residence
address; and bank correspondence addressed to “Purple Crystal” also bore the St. Louis
residence address. Agent Andrews stated the defendants had told officers their business
was called “Purple Crystal.” At the time Warrant #1 was executed, officers also found
receipts for more than $45,000 worth of money orders that were purchased between
November 2005 and July 2006. (Doc. No. 32-2-sealed)
       Agent Andrews stated that based on her training and experience, she knew business
owners often maintain business records at their places of residence. She described the
St. Louis residence in detail, including the residence address, physical description, and
precise location of the residence in St. Louis, Missouri. (Id., p. 7, ¶ 27)
       On July 10, 2006, at 2:06 p.m., Magistrate Judge Fleissig found the affidavit
established probable cause to believe items relating to the defendants’ operation of “Purple
Crystal Corporation” would be found at the St. Louis residence, and Judge Fleissig issued
the warrant. (Id., p. 10)
       Warrant #3
       During the execution of Warrant #2 on July 10, 2006, at the defendants’ St. Louis
residence, ICE agents located documentation regarding a storage facility located in St.
Louis, Missouri, that was rented to “Purple Crystal Corporation.” (See Doc. No. 32-3-
sealed, p. 9, ¶ 26) Agents therefore applied for a search warrant to search the storage
facility. (Doc. No. 32-3)
       In an affidavit in support of the warrant application, Agent Andrews indicated
agents had confirmed with the owner of the storage facility that the unit in question was
still under lease to Purple Crystal Corporation, which had leased the facility since July 1,


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2004. The facility owner indicated the lease payments were current for the unit in
question. Agent Andrews provided a description of the storage facility, as well as the
physical address. She also noted that a white truck was parked in front of the warehouse
bearing the name of “Win Far China Trading Corp.,” and a Lexis/Nexis check had
revealed defendant Huang was “one of the executives” of the company.
       On July 11, 2006, Magistrate Judge Fleissig found the affidavit established probable
cause to believe items relating to the defendants’ sale of counterfeit goods would be found
at the storage facility, and she issued the warrant. (Id., p. 1)


       Warrant #4
       During the execution of Warrant #3 on July 11, 2006, at the St. Louis storage
facility, ICE agents located and seized evidence “believed to be related to the sale of
counterfeit consumer goods.” (Doc. No. 32-4-sealed, p. 9, ¶ 29) The items included
articles of clothing bearing NASCAR, NFL, and Major League Baseball logos; Tommy
Hilfiger logos; and Sharpie markers. (Id.) During the search, Agent Andrews had noted
that the white truck bearing the “Win Far China Trading Corp.” name also bore the words
“Purple Crystal Corp.” on the passenger door. (Id., p. 10, ¶ 30) Agent Andrews
therefore applied for a search warrant to search the white truck. (Doc. No. 32-4-sealed)
       On July 13, 2006, Magistrate Judge Fleissig found the affidavit established probable
cause to believe items relating to the defendants’ sale of counterfeit goods would be found
in the truck, and she issued the search warrant. (Id., p. 1)


       The defendants argue Warrants #2, #3, and #4 (the “Missouri warrants”) were
issued without probable cause. They argue evidence located during the execution of
Warrant #1 was insufficient to establish probable cause to justify a search of the
defendants’ St. Louis residence.        They similarly argue discovery of documentation
regarding the storage facility was insufficient to justify a search of that facility, particularly


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because Agent Andrews does not cite any contraband or other evidence that was located
at the St. Louis residence. Because the defendants believe Warrant #1 was issued without
probable cause, they assert the evidence located during execution of that warrant cannot
form the foundation for issuance of Warrant #2, and similarly, that Warrants #3 and #4
cannot be premised upon discovery of evidence located during execution of each of the
prior warrants.
       The defendants again assert that they are entitled to a Franks hearing, based on
general allegations that the agents’ affidavits contain false statements. The defendants
further argue the physical evidence should be excluded pursuant to Leon.
       For the reasons discussed above in relation to Warrant #1, the court finds the
defendants have failed to make the required showing for a Franks hearing relating to the
contents of the warrant applications and affidavits. Further, the court finds the Missouri
warrants were supported by ample probable cause. The defendants were found in Cedar
Rapids, Iowa, selling items bearing counterfeit trademarks. In defendant Huang’s purse,
agents found documentation that business and personal correspondence was being sent to
the defendants at the Missouri residence, and the defendants admitted they lived at that
residence. This information was adequate to support Warrant #2, for a search of the
defendants’ residence. Discovery that the business had rented a storage unit supported
Warrant #3, and discovery of contraband in the storage unit, together with the presence
of the large truck bearing the defendants’ business name, supported issuance of Warrant
#4. Notably, rather than over-reaching in their warrant applications, the ICE agents in this
case acted with appropriate caution in returning to the court to apply for a new warrant for
each successive search of the defendants’ property.
       The court finds all four warrants were supported by probable cause, and respectfully
recommends that the defendants’ motion to suppress physical evidence (Doc. No. 9) be
denied insofar as the motion challenges the four warrants.




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      The undersigned reserves making a report and recommendation on the defendants’
motion to suppress their statements to law enforcement officers.
      Objections to this recommendation must be filed by November 7, 2006. Responses
to objections, if any, must be filed by November 10, 2006.
      IT IS SO ORDERED.
      DATED this 31st day of October, 2006.




                                        PAUL A. ZOSS
                                        MAGISTRATE JUDGE
                                        UNITED STATES DISTRICT COURT




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